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15                                 UNITED STATES DISTRICT COURT

16                             NORTHERN DISTRICT OF CALIFORNIA
17                             SAN FRANCISCO DIVISION
     __________________________________________
18                                             )
19   EASTON STOKES,                            )  C-19-4613 WHA
                                               )
20         Plaintiff,                          )
                       v.                      )
21                                             )  NOTICE OF CHANGE IN
22                                             )  COUNSEL
     UNITED STATES DEPARTMENT                  )
23         OF JUSTICE, et al.,                 )
                                               )
24         Defendants.                         )
25   __________________________________________)

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     Stokes v. DOJ, et al.                                                     1
     Notice of Change in Counsel
     C-19-4613 WHA
               Case 3:19-cv-04613-WHA Document 80 Filed 12/31/20 Page 2 of 2




1            Please take notice that undersigned counsel, Eric J. Soskin, hereby withdraws his
2    appearance and no longer represents the United States in this action.
3
             Assistant United States Attorney Julie Bibb Davis continues to represent Defendants as
4
     lead counsel in this matter.
5
6
     Dated: December 31, 2020                     Respectfully submitted,
7
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     Stokes v. DOJ, et al.                                                                       2
     Notice of Change in Counsel
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